38 F.3d 609
    309 U.S.App.D.C. 34
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.UNITED STATES of Americav.Clarence GRANT, Appellant.
    No. 93-3181.
    United States Court of Appeals, District of Columbia Circuit.
    Sept. 13, 1994.
    
      Before:  EDWARDS, SENTELLE and RANDOLPH, Circuit Judges.
      JUDGMENT
      PER CURIAM.
    
    
      1
      This cause came to be heard on the appeal from the judgment of conviction in the District Court, and was briefed and argued by counsel.  The issues have been accorded full consideration by the Court and occasion no need for a published opinion.  See D.C.Cir.Rule 36(b).  It is
    
    
      2
      ORDERED and ADJUDGED, by the Court, that the judgment is affirmed.
    
    
      3
      The clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.  See D.C.Cir.Rule 41.
    
    